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     Attorney for: ADONIS TORRES
 6
 7
 8                    IN THE UNITED STATES DISTRICT COURT

 9                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11     UNITED STATES OF AMERICA,             ) No. CR 20-0480-06 WHA
                                             )
12                            Plaintiff,     ) ADONIS TORRES’
                                             ) SENTENCING MEMORANDUM
13                                           )
14     vs.                                   ) Date: March 1, 2022
                                             ) Time: 2:00 p.m.
15     ADONIS TORRES                         ) Courtroom: The Honorable
                             Defendant.      ) Judge Alsup
16
       _____________________ _________________________________________
17
18      Mr. Torres was the child of Honduran farm workers. Despite
19
     working on a farm, they struggled to provide food for Mr. Torres
20
     and his siblings. PSR paragraphs 53, 54.      His father left the
21
22   family when Mr. Torres was eight years old. Id. Rather than

23   abandoning the family, his father went to the United States to try
24   to make some money to send back to his family so that they could
25
     eat more regularly. He was gone for five years, during which he
26
     regularly sent money to Mr. Torres’ mother for that purpose. Id.
27
28
29

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       For most of his childhood, Mr. Torres’ family couldn’t even
 1
 2   afford to buy him shoes, so he went everywhere barefooted, causing

 3   constant injuries to his feet. Id.
 4     Due partly to the above factors, the presentence report (PSR)
 5
     recommended that the Court sentence Mr. Torres to 30 months in
 6
     prison, below his Guidelines range of 41-51 months. PSR
 7
 8   Justification section, p.2.

 9     The Justification section has a significant error that counsel
10
     overlooked until preparation of this memorandum. On page one of
11
     that section, apparently to justify not recommending a lower
12
13   variance, the PSR states: “Mr. Torres has prior criminal

14   convictions for Transport/Sell Narcotic/Controlled Substance,
15   Solicit Specified Acts, and Illegal Entry.” In fact, Mr. Torres
16
     only has one prior conviction, for illegal entry, as correctly
17
     noted earlier in the PSR, within the prior records section
18
19   (paragraphs 38-42) that was included in the draft provided to

20   counsel prior to the final PSR provided to the Court. Paragraph 41
21
     notes the illegal entry conviction, which resulted in a 60-day
22
     sentence and two criminal history points, as noted correctly in
23
     the Criminal History (CH) computation section, paragraph 42.
24
25     We submit that CH 2 is overstated for somebody with one prior
26   conviction – a status conviction – that resulted in a 60-day
27
28
29

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     sentence. 1 Had Mr. Torres been in CH 1, perhaps more appropriate
 1
 2   for somebody with only one prior 60-day sentence for an illegal

 3   entry conviction, his guidelines would have been 37-46 months.
 4        As noted in PSR paragraph 3, the plea agreement contemplated Mr.
 5
     Torres receiving a two-point offense level adjustment for the
 6
     “global disposition” that had been contemplated. Unfortunately,
 7
 8   one of the codefendants became a fugitive, making it impossible

 9   for Mr. Torres to obtain the benefit of this part of the deal he
10
     entered. While the government is certainly not to blame for this,
11
     neither is Mr. Torres. Had Mr. Torres received the extra two
12
13   points off his offense level for the global disposition factor in

14   addition to the CH 1 category we suggested would be more
15   appropriate than CH2, his guidelines would have been 30-37 months.
16
          Thus, the 30-month sentence is arguably the low end of the range
17
     that Mr. Torres should have been in anyway, but for a rigid CH
18
19   guidelines factor requiring two points for any 60-day sentence,

20   regardless of the nature of the conviction, and the absconding of
21
     a codefendant he had no control over.
22
          But there are additional factors in this case that the Court
23
     should consider in rendering a just sentence. For one, Mr. Torres
24
25   has been in continuous custody since December 10, 2020. PSR para.
26   4. He has spent the overwhelming majority of his imprisonment
27
28
29   1   This objection was raised in response to the draft PSR.


                                            3
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     under harsher conditions of confinement than anybody could have
 1
 2   anticipated prior to the pandemic. He has received substantially

 3   less recreation and human contact time than he would have received
 4   in pre-pandemic days. He has been allowed little to no in-person
 5
     visitation, not with friends nor even his own lawyer.
 6
       Additionally, Mr. Torres appears to be the least culpable of all
 7
 8   of the defendants in this case. Although the PSR disagreed with

 9   our position that he should get an adjustment for minor role,
10
     paragraph 19 notes that “the government placed (co-defendant)
11
     Carrero at a level slightly above Torres due to her familial
12
13   connections in the organization and her direct contact with one of

14   the suppliers …” The wiretaps in this case rarely captured Mr.
15   Torres in drug related calls compared to the others. PSR
16
     paragraphs 11-20 reflect less drugs and less drug dealing by Mr.
17
     Torres than his codefendants.
18
19     Earlier this afternoon, Ms. Carrero was sentenced to 19 months

20   imprisonment. We understand the awful human factors involved in
21
     Ms. Carrero’s case. However, there is little question about the
22
     relative culpability between Mr. Torres and Ms. Carrero. He was
23
     below her. He had less and did less.
24
25     We know the Court is distressed by the prevalence of the primary
26   drug in this case, fentanyl. It is a destructive drug, responsible
27
     for many deaths. But Mr. Torres’ motivation in this offense was
28
     not mercenary, praying cynically on the addictions of others.
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     Although Mr. Torres had successfully completed drug treatment (PSR
 1
 2   paragraphs 61-62), he’d relapsed prior to his involvement in this

 3   case. “He noted cocaine was his primary drug of choice and he
 4   became involved in the instant offense in order to support his own
 5
     drug habit.” PSR para. 61.
 6
       But there was an additional motivation. As that same PSR
 7
 8   paragraph notes, the wire picked up conversations in which Mr.

 9   Torres professed his love for Ms. Carrero, a love that was not
10
     reciprocated.
11
                               CONCLUSION
12
13     Ms. Carrero received a just sentence. Principles of codefendant

14   disparity should lead this Court to sentence Mr. Torres to no more
15   than any of his codefendants receive. Even without that disparity,
16
     the Court’s concern about the ravages of fentanyl should be
17
     balanced with Mr. Torres’ motivation to engage in this crime, as
18
19   well as his own sad history.

20
21                                           Respectfully submitted,
22
23
       Date: February 22, 2022
24                                           _________/s/_____________
                                             Brian P Berson
25
                                             Attorney for Adonis Torres
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